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     TASHA PARIS CHALFANT (SBN 207055)
 1   THE LAW OFFICE OF TASHA PARIS CHALFANT
     5701 Lonetree Blvd., Suite 312
 2   Rocklin, California 95765
 3
     Tel. (916) 444-6100
     Fax (916) 930-6093
 4   E-mail: tashachalfant@gmail.com
 5   Attorney for Defendant
     JEFFREY S. GRADY
 6
                         IN THE UNITED STATES DISTRICT COURT FOR THE
 7
                                 EASTERN DISTRICT OF CALIFORNIA
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 9
     UNITED STATES OF AMERICA,                       )       No. 2:15-CR-00204 TLN
10                                                   )
                                                     )       STIPULATION REGARDING
11          Plaintiff,                               )       EXCLUDABLE TIME PERIODS UNDER
                                                     )       SPEEDY TRIAL ACT; FINDINGS AND
12   v.                                              )       ORDER
                                                     )
13
     JEFFREY S. GRADY,                               )
                                                     )
14                                                   )
            Defendant.                               )
15                                                   )
                                                     )
16                                                   )
17
                                            STIPULATION
18
            Plaintiff United States of America, by and through its counsel of record Assistant United
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     States Attorney MATTHEW MORRIS, and the Defendant, JEFFREY S. GRADY, by and
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21
     through his counsel of record TASHA CHALFANT, hereby stipulate and request that the Court

22   make the following findings and Order as follows:
23          1.       By previous order, this matter was set for status conference on April 26, 2018.
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            2.       By this stipulation, the defendants now move to continue the status conference
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     until June 7, 2018, and to exclude time between April 26, 2018, and June 7, 2018, under Local
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27   Code T4. Plaintiff does not oppose this request.

28                       STIPULATION AND ORDER FOR CONTINUANCE OF STATUS HEARING

                                        AND FOR EXCLUSION OF TIME

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            3.       The parties agree and stipulate, and request that the Court find the following:
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 2          a.       The government has represented that the discovery associated with this case

 3   includes approximately 2,086 pages of investigative reports in electronic form. All of this
 4
     discovery has been either produced directly to counsel and/or made available for inspection and
 5
     copying.
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            b.       Counsel for the defendant desires additional time to review the discovery, consult

 8   with her client, discuss potential resolution, and to explain the consequences and guidelines.
 9   Counsel for the defendant substituted in for the previous attorney, Bruce Locke, when he had to
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     go on family leave. Therefore, counsel for the defendant needs additional time to develop the
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     case, conduct investigation and meet with her client for the above stated reasons.
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13          c.       Counsel for the defendant believes that failure to grant the above-requested

14   continuance would deny her the reasonable time necessary for effective preparation, taking into
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     account the exercise of due diligence.
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            d.       The government does not object to the continuance.
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            e.       Based on the above-stated findings, the ends of justice served by continuing the
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19   case as requested outweigh the interest of the public and the defendant in a trial within the

20   original date prescribed by the Speedy Trial Act.
21
            f.       For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,
22
     et seq., within which trial must commence, the time period of April 26, 2018, to June 7, 2018,
23
     inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4]
24

25   because it results from a continuance granted by the Court at defendant’s request on the basis of

26   the Court's finding that the ends of justice served by taking such action outweigh the best interest
27

28                     STIPULATION AND ORDER FOR CONTINUANCE OF STATUS HEARING

                                         AND FOR EXCLUSION OF TIME

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     of the public and the defendant in a speedy trial.
 1

 2                  4.       Nothing in this stipulation and order shall preclude a finding that other

 3   provisions of the Speedy Trial Act dictate that additional time periods are excludable from the
 4
     period within which a trial must commence.
 5
            All counsel have reviewed this proposed order and authorized Tasha Chalfant to sign it
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 7
     on their behalf.

 8   IT IS SO STIPULATED.
 9   Dated: April 24, 2018                         by:        /s/Tasha Chalfant for
10
                                                              MATTHEW MORRIS
                                                              Assistant U.S. Attorney
11                                                            Attorney for Plaintiff
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     Dated: April 24, 2018                         by:        /s/Tasha Chalfant
13                                                            TASHA CHALFANT
                                                              Attorney for Defendant
14                                                            JEFFREY S. GRADY
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28                       STIPULATION AND ORDER FOR CONTINUANCE OF STATUS HEARING

                                         AND FOR EXCLUSION OF TIME

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 1                                                ORDER
 2          The Court, having received, read, and considered the stipulation of the parties, and good
 3   cause appearing therefrom, adopts the stipulation of the parties in its entirety as its order. Based
 4   on the stipulation of the parties and the recitation of facts contained therein, the Court finds that
 5   the failure to grant a continuance in this case would deny defense counsel reasonable time
 6   necessary for effective preparation, taking into account the exercise of due diligence. The Court
 7   finds that the ends of justice to be served by granting the requested continuance outweigh the
 8   best interests of the public and the defendant in a speedy trial.
 9          The Court orders that the time from the date of the parties' stipulation, April 26, 2018, to
10   and including June 7, 2018, status conference hearing date shall be excluded from computation
11   of time within which the trial of this case must be commenced under the Speedy Trial Act,
12   pursuant to 18 U.S.C §3161(h)(7)(A) and (B) (iv), and Local Code T4 (reasonable time for
13   defense counsel to prepare). It is further ordered that the presently set April 26, 2018, status
14   conference shall be continued to June 7, 2018, at 9:30 a.m.
15   IT IS SO FOUND AND ORDERED this 24th day of April, 2018.
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19                                                             Troy L. Nunley
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                                                               United States District Judge

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28                     STIPULATION AND ORDER FOR CONTINUANCE OF STATUS HEARING

                                         AND FOR EXCLUSION OF TIME

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